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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 UNITED STATES OF AMERICA


       v.                                            1:05-cr-0558-WSD
 JESUS HECTOR FLORES,
 ROMERO ROEL MARTINEZ,
 LUIS FERNANDO TREVINO, JOE
 LOUIS LOPEZ, ROBERTO
 GARCIA, and FLORENTINO
 VILLANUEVA-CASTILLO,
                            Defendants.


                             OPINION AND ORDER

      This matter is before the Court on Defendant Joe Louis Lopez’s Amended

Motion in Limine to Exclude Expert Opinion of Government Witness [274],

adopted and joined in by Defendant Jesus Hector Flores [276].

      The Court held a pretrial conference in this matter on January 2, 2008. At

that hearing, counsel for Defendants raised an objection regarding whether the

government’s proposed expert witness, DEA Special Agent Mark Hadaway, is

properly qualified to testify as an expert in this case. The present Order addresses

only with whether Special Agent Hadaway is qualified to testify as an expert, and
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provides additional authorities and discussion to supplement the Court’s findings at

the January 2, 2008 pretrial conference.

       Federal Rule of Evidence 702 permits expert testimony if “scientific,

technical, or other specialized knowledge will assist the trier of fact to understand

the evidence or to determine a fact in issue . . . .” The Rule permits expert

testimony from witnesses qualified by “knowledge, skill, experience, training, or

education . . . .” Id.

       The Court, exercising its gatekeeping role in the admission of expert

testimony, must ensure that admitted expert testimony is reliable. Daubert v.

Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 597 (1993). Standards of strict

scientific reliability, such as testability and peer review, do not apply to all forms

of expert testimony. Kuhmo Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 151

(1999). Rather, “the trial judge must have considerable leeway in deciding in a

particular case how to go about determining whether particular expert testimony is

reliable.” Id. For example, “reliability concerns may focus upon personal

knowledge or experience.” Id. at 150. A hearing to determine a witness’s

reliability is not required in cases in which the reliability of the testimony can be

taken for granted. Id. at 152.

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      In criminal drug cases, expert testimony by narcotics agents with significant

experience is routinely admitted without a reliability hearing. See United States v.

Jawara, 474 F.3d 565, 582-83 (9th Cir. 2007). The Eleventh Circuit specifically

recognizes a “well established rule” that “an experienced narcotics agent may

testify as an expert to help a jury understand the significant of certain conduct or

methods of operation unique to the drug distribution business.” United States. v.

Garcia, 447 F.3d 1327, 1334 (11th Cir. 2006). See also United States v. Butler,

102 F.3d 1191, 1199 (11th Cir. 1997). “An experienced narcotics agent may

testify about the significance of certain conduct or methods of operation unique to

the drug business.” United States v. Estelan, 156 Fed. App’x. 185 (11th Cir.

2005). The extent and similarity of the agent’s prior experience is the touchstone

of the Court’s reliability inquiry in cases such as this. See, e.g., id.

      Expert testimony by experienced narcotics agents in drug cases is often

“highly probative” of important issues in the case. Garcia, 447 F.3d at 1335.

Agent testimony is “precisely the type of testimony that could help the jury

understand how the conduct and evidence relating to individual participants might

further the goals and purposes of the drug trafficking organization.” Id. Such

testimony is also relevant to understanding the practices and methods unique to

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drug traffickers, such as he use of code words, stash houses, heat checks, firearms,

and “dropping” cell phones. Id.

      Having reviewed the record, the Court finds that Special Agent Hadaway is

qualified to testify as an expert in this case. He has undergone specialized training

in investigating drug trafficking activity, and has extensive experience in narcotics

investigations involving the distribution of cocaine. Special Agent Hadaway has

worked as an undercover agent involved in the purchase of illegal drugs, and has

personally supervised informants used to infiltrate drug organizations. Special

Agent Hadaway has interviewed more than 200 defendants or witnesses regarding

the methods and operations of drug trafficking organizations, and has personally

participated in more than 25 Title III investigations, including serving as the

supervising case agent in some of those investigations. Many of these

investigations involved Mexican national drug traffickers or trafficking

organizations. In light of Special Agent Hadaway’s extensive experience1 in

investigating matters very similar to those at issue in this trial, the Court finds his

proposed testimony reliable.


      1
        Neither Defendant Lopez nor Defendant Flores contests the accuracy of
the government’s statement of Special Agent Hadaway’s background, training, and
experience.
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      Special Agent Hadaway’s testimony is also relevant and likely to help the

jury. As set forth more fully in the government’s seven-page summary of proposed

testimony, Special Agent Hadaway will testify regarding the practices of drug

traffickers and trafficking organizations generally, as well as the practices of the

organization and defendants alleged in this case. Special Agent Hadaway’s

testimony will cover topics not within the lay knowledge of the jury, such as, for

example, the use and interpretation of code words, methods of transporting,

storing, and distributing drugs and drug proceeds, communication and counter-

surveillance techniques, and security measures and weapons. This testimony is

likely to assist the jury’s understanding of the relevance or import of the evidence

in this case. Special Agent Hadaway’s testimony is highly probative, and its

probative value is not outweighed by any prejudice to Defendants.2




      2
         The only specific objection to Special Agent Hadaway’s testimony raised
at the pretrial conference concerned whether Special Agent Hadaway would testify
to interpret code words not specifically designated in the government’s summary
of proposed testimony. The government agreed to identify and provide notice to
Defendants of any additional code words that Special Agent Hadaway might
interpret. This specific objection is moot.
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      Accordingly,

      IT IS HEREBY ORDERED that Defendant Joe Louis Lopez’s Amended

Motion in Limine to Exclude Expert Opinion of Government Witness [274],

adopted and joined in by Defendant Jesus Hector Flores [276], is DENIED.

Special Agent Hadaway is qualified as a witness to testify as trial concerning the

matters set forth in the government’s summary of proposed testimony.

      SO ORDERED this 3rd day of January, 2008




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                                       WILLIAM S. DUFFEY, JR.
                                       UNITED STATES DISTRICT JUDGE




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